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   WELCOME                                                                                                                 



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                                      A C O O P E R AT I V E O F M T. G O X B I T C O I N C R E D I T O R S
  FORUM



  LATEST
     Month: October 2017
  CONTRIBUTE




     Press Release
       OCTOBER 27, 2017

       ANDY PAG




     Owner of failed Mt. Gox bitcoin exchange, who lost $500m of customers money, in line for over $700m of their funds,
     due to legal black-hole. The owner of the bankrupt Mt. Gox bitcoin exchange, who designed its security system, but
     didn’t notice repeated thefts over three years leading to losses of almost $500m of customer’s…



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     New Terms – Updated 22/Nov/17
       OCTOBER 25, 2017

       ANDY PAG




     What are you paying for? You are essentially donating to a fund for legal action. We’ve already raised the full amount
     needed to pay the lawyer to research, and proceed to the next step. Everyone has already put in ~$100 (actually £85),
     and rather than close the group when we reached the target for the…

https://www.mtgoxlegal.com/2017/10/                                                                                               1/8
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     Accountability update.
       OCTOBER 22, 2017

       ANDY PAG




     Just over a week ago, I told everyone that for all the psuedo-accountability I was presenting, in the end it just came
     down to having to trust me. Well I’m working on changing that this week, so things won’t have to rely on just trust
     anymore. Accounting Already we have a volunteer bookkeeper, yyy. A…



                                                                                                               READ MORE 




     We reached $30k in six days!
       OCTOBER 19, 2017

       ANDY PAG




     Good news. We’ve now hit the target of $30k. It’s an amazing job in under a week. I think above all it shows how
     important this is to a lot of people. We have: £22,598,56 in card takings, and £768.45 paid to me on Paypal.

     £23,3367.01 in total. Sekido’s invoice has arrived, and there’s no…



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     The Forum
       OCTOBER 19, 2017

       ANDY PAG




     Tomorrow we’ll be opening the Forum. This is the area where all the legal information provided by our lawyer will be

     shared. We’re also looking at how to establish a creditors committee and there’s a thread for that. I’m uploading the
     accounts there too, and a request for volunteers to form a governance board. This…



                                                                                                                READ MORE 




     Commissioning letter to Sekido, and other news
       OCTOBER 15, 2017

       ANDY PAG




     I’ve written a draft letter highlighting questions, information, and legal approaches raised in the Google group. I’m not

     going to publish it here in public, but it is now in the Google Group. Title “Commissioning Letter to Sekido”. Please
     comment on it so I can make sure all valid points are considered. The IT volunteers,…



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     We've reached $10k
       OCTOBER 14, 2017

       ANDY PAG

       4 COMMENTS



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     We currently have 105 creditors who have contributed, so have made the target we need for tier 1 – Research. I

     originally said I’m going to leave funding open for a week and review it then. I’m going to stick to that for now for two

     reasons. Firstly because there will be more funding needed…



                                                                                                                 READ MORE 




     Terms agreed with Mr Sekido
       OCTOBER 12, 2017

       ANDY PAG




     We have agreed payment terms with our layer. I have now removed the emails sent between us. This is effectively

     what you’re paying for and if you want to see them before contributing, please email me. They are available on the

     forum.



                                                                                                                 READ MORE 




     Creditors Committee – 11 Oct 17
       OCTOBER 12, 2017

       ANDY PAG




     Bitcoin Builder has engaged a lawyer that is looking at establishing a Creditors Committee. This is a committee that
     can to some limited degree call the Trustee to account. They cannot dictate terms, but they can make their feelings

     clear to him, and suggest actions, and if necessary call him to the Tokyo court to…



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     Not All Creditors Are The Same – 10 Oct 17
       OCTOBER 12, 2017

       ANDY PAG




     Keep in mind that not all creditors have the same motivations. Fiat creditors are unaffected by the fluctuating BTC

     price, as long as it stays above a level which gives them a 100% payout. Their motivation more than anything, I
     assume, is to get this resolved quickly. I understand that some BTC creditors that took…



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      OLDER POSTS




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   an attorney-client relationship.



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   To join the forum contribute $100/£85


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   Voluntary donations to our legal fund can be made at the following addresses.


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   XMR:


   4Aeiq35o9FKD8f7Xu87NewLqQu5nPBpG1Xmc8YQxGL8tKawouEdJHxpf91zk6x1zr3bZUqqbEmtqqKZaVjDLNHmtQv

   fbsHZ


   BCH: bitcoincash:qryr7f3hdcauq52nlkk9j8cpnzewtwauds7urqvfcq


   DOGE/Dogecoin: D9a3mERrgYUzz8PJwrDGWuS59fCpeaRCTi


   LTC/Litecoin: LetqymCwAWmsiXhEWttwXepoSoDdYYncnj


   XZC/Zcoin: a2SXwEjF1FDvc5VcFABkeEzqzaqrdFoa38


   ZEC/Zcash : t1bfaazAd4zwHwQ26wW5pZyYvx8fYe9a6Dq


   Dash: XvrAqTnHEEiDgaKd4iFuMDu4zivocwchi9



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   February News


   Missed the filing deadline?

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   Another creditors meeting


   Self-Admission – Zombie Claims




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